     Case 4:22-md-03047-YGR           Document 641-2      Filed 02/23/24   Page 1 of 7



 1     Lexi J. Hazam (SBN 224457)
       lhazam@lchb.com
 2     LIEFF CABRASER HEIMANN
       & BERNSTEIN, LLP
 3     275 Battery Street, 29th Floor
       San Francisco, CA 94111-3339
 4     Telephone: (415) 956-1000
       Facsimile: (415) 956-100
 5
       Christopher A. Seeger (pro hac vice)
 6     cseeger@seegerweiss.com                         Jennie Lee Anderson (SBN 203586)
       SEEGER WEISS, LLP                               jennie@andrusanderson.com
 7     55 Challenger Road, 6th Floor
       Ridgefield Park, NJ 07660                       ANDRUS ANDERSON LLP
 8     Telephone: (973) 639-9100                       155 Montgomery Street, Suite 900
       Facsimile: (973) 679-8656                       San Francisco, CA 94104
 9                                                     Telephone:      (415) 986-1400
       Previn Warren (pro hac vice)                    Facsimile: (415) 986-1474
10     pwarren@motleyrice.com                          Plaintiffs’ Liaison Counsel
       MOTLEY RICE LLC
11     401 9th Street NW, Suite 630
       Washington, DC 20004
12     Telephone: (202) 386-9610
       Facsimile: (202) 232-5513
13     Plaintiffs’ Co-Lead Counsel

14
                                    UNITED STATES DISTRICT COURT
15
                                 NORTHERN DISTRICT OF CALIFORNIA
16

17     IN RE: SOCIAL MEDIA ADOLESCENT                  Case No. 4:22-MD-03047-YGR
       ADDICTION/PERSONAL INJURY
18     PRODUCTS LIABILITY LITIGATION                   MDL No. 3047

19                                                    EXHIBITS 1-3 TO DECLARATION OF
                                                      JENNIE LEE ANDERSON IN SUPPORT
20     This Document Relates to:                      OF PLAINTIFFS’ SEVENTH EX PARTE
       K.O. and J.O., individually and as next of     APPLICATION FOR APPOINTMENT
21                                                    OF GUARDIANS AD LITEM
       friend to minor D.O. v. Meta Platforms,
22     Inc., et al., 4:23-cv-04255

23     K.P., individually and as next of friend to
       minor S.P. v. Meta Platforms, Inc., et al.,
24     4:23-cv-05794

25     I.T. individually and as next of friend to
       minor, A.P. v. Meta Platforms, Inc., et al.,
26     4:23-cv-03292
27

28

                                                      1              Case No. 4:22-md-03047-YGR
       Exhibits 1-5 to Declaration of Jeannie Lee Anderson ISO of Plaintiffs’ Seventh Ex Parte App.
Case 4:22-md-03047-YGR   Document 641-2   Filed 02/23/24   Page 2 of 7




                  EXHIBIT 1
Case 4:22-md-03047-YGR   Document 641-2   Filed 02/23/24   Page 3 of 7




   EXHIBIT FILED UNDER SEAL
Case 4:22-md-03047-YGR   Document 641-2   Filed 02/23/24   Page 4 of 7




                  EXHIBIT 2
Case 4:22-md-03047-YGR   Document 641-2   Filed 02/23/24   Page 5 of 7




   EXHIBIT FILED UNDER SEAL
Case 4:22-md-03047-YGR   Document 641-2   Filed 02/23/24   Page 6 of 7




                  EXHIBIT 3
Case 4:22-md-03047-YGR   Document 641-2   Filed 02/23/24   Page 7 of 7




   EXHIBIT FILED UNDER SEAL
